  Case 1:19-cv-00903-CFC Document 3 Filed 05/31/19 Page 1 of 1 PageID #: 22




                                   UNITED STATES DISTRICT COURT
                                         DISTRICT OF DELAWARE
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SHIVA STEIN,                                               :
                                                           :
                  Plaintiff,                               : Case No. 1:19-cv-00903-CFC
                                                           :
v.                                                         : JURY TRIAL DEMANDED
                                                           :
GLOBAL BRASS AND COPPER                                    :
HOLDINGS, INC., VICKI L. AVRIL,                            :
DONALD L. MARSH, JR., BRADFORD T.                          :
RAY, JOHN H. WALKER, JOHN J. WASZ,                         :
MARTIN E. WELCH, III, and RONALD C.                        :
WHITAKER,                                                  :
                                                           :
                  Defendants.                              :
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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Shiva

Stein hereby voluntarily dismisses the above-captioned action (the “Action”) with prejudice.

Defendants have filed neither an answer nor a motion for summary judgment in the Action, and

no class has been certified.

Dated: May 31, 2019                               RIGRODSKY & LONG, P.A.

                                            By: /s/ Brian D. Long
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